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                                                                                                    (Viol-Hrg //201)
                                               HONORABLE: Janet C. Hall
                       DEPUTY CLERK Diahann Lewis             RPTR/ECRO/TAPE Terri Fidanza
TOTAL TIME: 01          hours     minutes USPO Patrick Norton       INTERPRETER
                          DATE: 8/5/2020     START TIME:    9:35          END TIME: 10:35
                                                LUNCH RECESS             FROM:                   TO:
                                       RECESS (if more than ½ hr)        FROM:                   TO:

CRIMINAL NO. 3:14CR107 (JCH)                  Deft #

               UNITED STATES OF AMERICA                        Rahul Kale
                                                               AUSA
                             vs
                                                               Daniel Erwin
                        Roberto Vassquez                        Defendant’s Counsel      CJA      Retained        PDA


               VIOLATION OF PROBATION/SUPERVISED RELEASE (post sentencing)

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          COMPLIANCE REVIEW HEARINGBBBBB 5(92&$7,21+($5,1*BBBBB

  ..........    Deft arrested on
  ..........    Deft failed to appear, Bench warrant to issue
  ..........    Violation hearing continued to                          at
  ..........    Defendant admits violation
  ..........    CJA 23 Financial Affidavit filed      Sealed by the Court.
  ..........    Court appoints                          to represent dft      For this proceeding     for all proc.
                CJA Appointment date:                                 .
  ..........    Order Appointing Federal Public Defender’s Office filed
  ..........    Court finds deft has        has not violated terms of      probation       supervised release
  ..........    Probation/Supervised Release revoked            continued       modified
  ..........                            months imprisonment on Count(s)
  ..........    Upon release the defendant shall be on supervised release for a term of                years months
  ..........       Supervised release Probation continued for a period of                    years   months on
                count(s)
  ..........    Deft shall pay a fine of $             on Count(s)              to be paid by
  ..........    Court recommends incarceration at
  ..........    Deft shall pay $             per month for the cost of Incarceration           Supervised Release
                   Community confinement (halfway house)
  ..........    Deft shall refrain from any use or unlawful possession or distribution of a narcotic drug.
  ..........    Deft ordered to surrender on                 to U.S. Marshal          institution
  ..........    Bond      continued     set at $               Non-surety Surety PR
  ..........    Violation Sentencing set for                               at
  ..........    Defendant detained
  ..........
  ..........    SEE CONDITIONS OF SUPERVISED RELEASE/PROBATION ON PAGE II
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                        CONDITIONS OF              SUPERVISED RELEASE                   PROBATION

  ...... Deft shall pay restitution in the amount of $                    payable at the rate of $          per month

  ...... Deft shall be fined $                    on count(s)                 to be paid during the defendant’s
         period of Supervised Release             Probation on a schedule to be determined by the U.S.P.O.

  ...... Deft shall obtain a psychiatric and/or psychological evaluation and /or counseling; substance abuse
         treatment and/or counseling; submit to random urine testing & monitoring; educational and/or vocational
         training;                                 as deemed necessary by the U.S.P.O.

  ...... Deft shall pay the cost of supervision of $                   per month.

  ...... Deft shall perform community service for a period of                hours per week for          years(s) for a total
         of           hours.

  ...... Deft shall obtain and maintain full employment

  ...... Deft shall have no association with or be in the presence of, use, fabrication, assembly, transfer or
         dealing with weapons of any kind.

  ...... Deft is confined to his/her home for a period of            months      with electronic monitoring        without
         electronic monitoring

  ...... Deft shall pay the costs of electronic monitoring

  ...... Deft is sentenced to community confinement (halfway house) for a period of                        months

  ...... During the period of house arrest the deft shall be home at all times except for employment, religious
         obligations, medical attention, and community service. Deft shall engage in no social activities with the
         exception of those exclusively family oriented.

  ...... Deft shall have no involvement nor relationship with nor be in the presence of any person who uses,
         deals with, or distributes drugs, nor shall he/she be in the presence of any actual usage of, dealing or
         distribution of drugs of any nature.
           Hearing continued, Attorney Erwin to file a status report re in-patient hospice within 2 weeks; Dr. Baranoski
  ......
to look into counseling/support services for Mr. Vasquez. Defendant waived right to in-person hearing.

Dr. Wasser and Dr. Baranoski both present via Zoom.
